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UNITED STATES DISTRICT COURT


NORTHERN DISTRICT OF GEORGIA


-------------------------------------------------X


Eve Wexler,


Individually and on behalf of a class                 Case No. _______


Plaintiff,




v.




Simmons Bank


Defendant


--------------------------------------------------X


       CLASS ACTION COMPLAINT FOR DAMAGES- JURY TRIAL

                                        REQUESTED


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                               Nature of the Action


Plaintiff Eve Wexler on behalf of herself and all others similarly situated, files this

   Class Action Complaint against her lender Simmons Bank for its practice of

unilaterally changing loan terms. The loan agreement stated the conditions under

which an increase in Prime Rate would cause an increase in the amount of interest

Plaintiff had to pay. The Bank changed the terms of the agreement by immediately

increasing the amount of interest Plaintiff had to pay when Prime Rate increased.

This error the Bank miscalculated accrued finance charges which caused the Bank

 to require a higher monthly payment than was due according to the terms of the

                                        loan.


      1. Plaintiff Eve O. Wexler is an individual and resides in Dekalb County

         Georgia.

      2. Defendant Simmons Bank is a Banking entity.

      3. On or about June 2020, Wexler entered into a Home Equity Line of

         Credit Agreement (HELOC) with Ameris Bank for the purchase of

         Wexler’s principal dwelling. See attached Exhibit A.

      4. The interest rate on the HELOC was variable tied Prime Rate.

      5. In the agreement, Wexler granted Ameris Bank a security interest in her

         home which is located in DeKalb County, Georgia.
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6. Wexler originally borrowed approximately $184,000 and that is the

   approximate amount that remains outstanding.

7. Under the terms of the agreement, the first 10 years of the agreement

   (the “Advance Period”) require only periodic monthly interest payments.

8. Wexler has made each periodic monthly interest payment.

9. On or about July 2020, the HELOC was sold to Georgia Banking

   Company (“GBC”).

10. On or about July 2020, Georgia Banking Company began servicing the

   loan.

11. On information and belief, Georgia Banking Company continues to

   service this loan as of the day of the filing of this Complaint.

12. Georgia Banking Company is a Georgia bank.

13. On or about October 2020, the HELOC was sold to Landmark

   Community Bank (“Landmark”).

14. Landmark had an agreement or understanding with Georgia Banking

   Company that GBC would be Landmark’s agent to charge and collect

   interest from Wexler and to be Landmark’s servicer for Wexler’s loan for

   all purposes.

15. Georgia Banking Company continued to service the loan.



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16. On or about November 2020, Georgia Banking Company hired Capital

   City Home Loans, LLC to be a sub-servicer for Wexler’s loan.

17. Capital City Home Loans, LLC (“Capital City”) is a Georgia limited

   liability company.

18. Landmark had an agreement or understanding that Capital City was

   Landmark’s agent to charge and collect interest from Wexler and to be

   Landmark’s sub-servicer for Wexler’s loan for all purposes.

19. On or about October 2021, per an agreement to be acquired, Landmark

   Community Bank merged into Simmons Bank.

20. Thus, as of October 2021, Simmons Bank was using Georgia Banking

   Company as its servicer and Capital City Home Loans, LLC as its sub-

   servicer.

21. Paragraph 7 of the Agreement titled “Minimum Payment” states that

   “During the Advance Period [], your minimum monthly payment will be

   the greater of $100.00 or the accrued finance charge….”

22. Paragraph 8 of the HELOC titled “Finance Charges” describes how

   interest will be charged.

23. In the first pertinent part of Paragraph 8, it states “The index for your

   Credit Account is the Prime Rate as most recently published on the first

   business day of each calendar month in the “Money Rates” table in any
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   U.S. edition, including any electronic edition, of the Wall Street Journal

   (the “Index”).

24. In the other pertinent part of Paragraph 8, it states “The Daily Periodic

   Rate and its corresponding Annual Percentage Rate may change (increase

   or decrease) the first day of the Monthly Statement Period after the index

   changes”.

25. Wexler’s interest rate is based on two components:

   A: what the “Index” is on the first business day of the month; and

   B. what the first day of the monthly statement period is after the index

   changes.

26. Accordingly, an increase in the interest rate on Wexler’s HELOC takes

   effect on the first day of the monthly statement period following an

   “Index” change.

27. Despite the agreement that an increase in the “Index” will only affect

   Wexler’s interest rate beginning on “the first day of the Monthly

   Statement Period after” the “Index” increases, Simmons Bank through its

   agents Georgia Banking Company and Capital City Home Loans, LLC

   increased Wexler’s interest rate immediately without waiting until either

   the “Index” changes or the first day of the monthly statement period after

   the “Index” changes.
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28. In other words, the agreement obligated Simmons to wait both until the

   “Index” increases and until the first day of the monthly statement period

   after the “Index” changes before increasing Wexler’s interest rate.

29. Instead, Simmons Bank neither waited until the “Index” increased nor

   waited until the first day of the monthly statement period after the

   “Index” increased to increase Wexler’s interest rate.

30. Simmons Bank immediately increased the interest rate on Wexler’s loan

   after Prime Rate changed.

31. For instance, Prime Rate was the same since the loan’s inception until on

   or about March 17, 2022, when the Prime Rate increased by .25%.

32. Thus, Wexler’s interest rate should have increased only when both the

   “Index” changed and upon the arrival of the first day of the monthly

   statement period after the “Index” changed.

33. Instead, Simmons Bank immediately increased Wexler’s interest rate

   when Prime increased in violation of the agreement.

34. This caused Wexler’s accrued finance charges and thus minimum

   payment to be approximately $20 (4%) more than it was supposed to be

   for the following month.

35. Wexler paid the amount calculated by the Bank.



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36. Simmons Bank did the same thing when Prime Rate increased by .5

   percent or about May 5, 2022, by increasing Wexler’s interest rate

   immediately in violation of the agreement.

37. This caused Wexler’s accrued finance charges and thus minimum

   payment to be approximately $55 (12%) more than it was supposed to be.

38. Wexler paid the amount calculated by the Bank.

39. Simmons Bank violated the agreement when the prime rate increased by

   .75 percent on or about June 16, 2022; increasing Wexler’s interest rate

   immediately in violation of the agreement.

40. This caused Wexler’s accrued finance charges and thus minimum

   payment to be approximately $53 (7%) more than it was supposed to be.

41. Also, because each increase in the “Index” (defined as “Prime Rate on

   the first business day of the calendar month”) only took effect after the

   first day of the new monthly statement period, the Bank should only have

   increased the interest rate for the monthly statement period after the

   monthly statement period when the “Index” increased.

42. Instead, by increasing the interest rate before it was supposed to, the

   Bank also earned the increased interest for an additional statement

   period.



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CAUSES OF ACTION


COUNT-I- Violations of the Truth in Lending Act


      43. TILA, 15 U.S.C. § 1647(c), and Regulation Z, 12 C.F.R. § 226.5b(f)(3),

            prohibit creditors such as Simmons Bank from unilaterally changing

            material terms of an open-end consumer credit plan.

      44. In violation of TILA, Simmons Bank changed the terms of the loan

            which caused Plaintiff damages.


Count II- Breach of Contract


      45.     Plaintiff and the Bank had an agreement.

      46. The agreement specified when the interest rate on Plaintiff’s variable rate

            loan would change.

      47. In breach of the agreement, the Bank raised Plaintiff’s interest rate earlier

            than it was supposed to causing Wexler damages.


   CLASS ACTION ALLEGATIONS


      48. Plaintiff brings this action under Fed. R.Civ.P. 23(b)(3).

      49. The first class is defined as all borrowers since January 1, 2022, with the

            following characteristics:

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(a) the Bank’s records indicate that it extended an open-ended credit plan

   secured by a borrower’s principal dwelling,

(b) with a variable interest loan secured by the influenced by Prime Rate,

(c) Loans in which Defendant increased the borrowers interest rate prior to

   the date specified in the loan agreement.

50. The second class is defined as all borrowers since January 1, 2022,

   where the bank agreed to begin charging more interest because of an

   increase in Prime Rate after some period of time went by but instead

   the bank began charging increased interest immediately.

51. Each class is so numerous that joinder of all members is impracticable.

52. On information and belief, there are at least hundreds of class members

   in each class.

53. There are questions of law or fact common to members of each

   enumerated each class.

54. Such questions include but are not limited to whether Defendant

   increased interest rates immediately after the Prime Rate changed and

   whether Defendant had a lawful right to increase interest rates

   immediately.

55. Plaintiff claims or defenses are typical of the claims or defenses of

   each enumerated class i.e., whether she was charged interest
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   immediately after Prime Rate changed and whether Defendant had a

   right to do so.

56. Plaintiff will fairly and adequately protect the interests of the class.

57. Plaintiff’s interests are perfectly in line with the classes.

58. Plaintiff wants wrongfully taken monies to be returned.

59. Plaintiff’s counsel is experienced and has the resources to pursue this

   class action.

60. Plaintiff’s damages are approximately less than $1,000 and class

   members do not have an interest in prosecuting separate cases as they

   will need to incur nearly the same investment to prosecute their

   individual case as Plaintiff in this case will incur to prosecute her case.

61. The interests of individual class members are overwhelmingly best

   served by the conduct of a class action.

62. Individual litigation of this matter would unduly increase expenses to

   all parties and prolong efficient adjudication given the expected size of

   the class.

63. Plaintiff does not believe there is any other pending litigation related to

   these claims.

64. There likely will be no difficulties in managing this class action.



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      65. The Bank has identifying data on class members which is readily

          accessible.

      66. The Bank can easily provide contact information for the class

          members.

      67. Class members can decide whether they want to participate in this case.

      68. For those class members who decide to participate, the Court can

          decide the case in one fell swoop as to Plaintiff and those class

          members who are participating will be bound by the Court’s decision

          as to Plaintiff which will apply to them.



PRAYER FOR RELIEF



WHEREFORE, Plaintiff individually and on behalf of the class prays for the

following relief:

      A- An order certifying the Class as defined above, appointing Plaintiff as

          the representative of the Class, and appointing undersigned counsel as

          Class Counsel.

      B- A damage award of the wrongful interest charged.

      C- An award of reasonable attorney’s fees and costs; and

      D- Such further and other relief as the Court deems reasonable and just.
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JURY TRIAL


Plaintiff requests a jury trial pursuant to Rule 38.




Respectfully submitted this 12 day of July 2022.


/S/ M. Muffy Blue ________________________________

M. Muffy Blue

Georgia Bar No. 064419

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404-918-7476




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